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                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION


IN RE: KIRKSEY, LEVERTIA                                        CASE NO. 17-11452

Debtor




                    MOTION TO SUSPEND CHAPTER 13 PAYMENTS

       Now comes Levertia Kirksey by and through, Catherine Umberger, who files this
Motion to Suspend their Chapter 13 Payments for three (3) months and would show as
follows:

   1. Debtor filed a Chapter 13 Bankruptcy on 04/20/2017. Debtor’s plan was confirmed
      on 09/19/2017 for 36 months.

   2. Debtor currently has about eighteen (18) months left in the Chapter 13 proceeding.

   3. Debtor is experiencing financial difficulties and requests a suspension of payments.
   4. Debtor requests that their plan payments be suspended for a period of three months
      (May 2019, June 2019, July 2019).
   5. Debtor requests that any payments received during the suspension period be
      returned to her.
   6. At the end of the three month suspension, trustee shall recalculate plan payment
      and increase wage order if necessary to cover the suspension and arrearage amount
      to ensure that the plan completes on time.

      WHEREFORE, the debtor moves this honorable court to schedule a hearing on this
Motion and allow the suspension of Chapter 13 Plan payments for a period of three months.


         This the 11th day of April 2019.
                                            /s/ Catherine Umberger
                                            Attorney for Debtor
                                            Mayfield Law Firm, P.A.
                                            P.O. Box 9
                                            Tupelo, MS 38802
                                            MS Bar No. 104458
                                            662-841-8844
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                             CERTIFICATE OF SERVICE



        I, Catherine Umberger, the undersigned counsel, do hereby certify that I have this
day served a true and correct copy of the foregoing Motion to Suspend Chapter 13
Payments via electronic e-mail and/or United States mail, postage prepaid, upon the
following:
            o US Trustee USTPRegionAB.ECg@usdog.gov

          Locke Barkley




       DATED: April 11, 2019


                                          / s / Catherine Umberger
                                          Catherine Umberger, ESQUIRE
